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 6

 7
     Attorney for Defendants
 8

 9                   IN THE UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
10

11
     GARY BAKER, an individual          )
12                                      ) Case No. 2:23cv10611
                 Plaintiffs,            )
13                                      ) DEFENDANTS’ NOTICE OF
          vs.                           ) MOTION TO DISMISS, OR IN THE
14                                      ) ALTERNATIVE, TRANSFER; FRCP
     CINAMAKER, INC., a corporation,    ) 12(b)(2) and 12(b)(3); 28 U.S.C. §§
15   BENJAMIN NOWAK, an individual, and ) 1404 and 1406
     DOES 1 through 10, inclusive       )
16                                      ) Date: February 9, 2024
     Defendants.                        ) Time: 1:30 pm
17                                      ) Ctrm: 6B
                                        )
18                                      ) Complaint Filed: DECEMBER 11,
                                        ) 2023
19                                      )
20
             TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
21

22           PLEASE TAKE NOTICE that on February 9, 2024 at 1:30 pm, or as soon
23 thereafter as the matter may be heard, in the courtroom of the honorable Aenelle-

24
     Rocha, Courtroom 6B, at the United States District Court for the Central District of
25

26 California, Western Division, located at First Street Courthouse, 350 W. 1st Street,

27 Courtroom 6B, 6th Floor, Los Angeles, California 90012. Pursuant to Federal Rules

28
                                             -1-
                                 MOTION TO DISMISS/TRANSFER
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 1 of Civil Procedure 12(b)(2) and 12(b)(3) and 28 U.S.C. §§ 1404 and 1406,

 2
     Defendants Cinamaker, Inc. and Benjamin Nowak will and hereby do move to
 3

 4
     dismiss or in the alternative transfer all claims against Cinamaker, Inc. and Benjamin

 5 Nowak in the instant action.

 6
             The basis for the motion to dismiss is that Plaintiff Gary Baker cannot
 7

 8 demonstrate that venue is proper under 28 U.S.C. § 1391(b) and this Court lacks

 9 personal jurisdiction over defendants.

10
             This Motion is based on this Notice of Motion and Motion, the Memorandum
11

12 of Points and Authorities, and all other documents in the record, any matters to which

13 the Court may take judicial notice, and any arguments that may be presented at any

14
     hearing on the motion.
15

16           This motion is made following the conference of counsel pursuant to L.R. 7-3

17 which took place on December 27, 2023.

18
     DATED: January 11, 2024                      JONES WALKER, LLP
19
20                                          By:    /s/ John W. Mills
                                                  John W. Mills
21                                                jmills@joneswalker.com
22                                                Attorney for Defendants CINAMAKER
                                                  INC. and BENJAMIN NOWAK
23

24

25

26

27

28
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     jmills@joneswalker.com                                                jlavigne@joneswalker.com
 6

 7 Attorneys for Defendants

 8
                             IN THE UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10

11 GARY BAKER, an individual            )
                                        ) Case No. 2:23cv10611
12               Plaintiffs,            )
                                        ) DEFENDANTS’ MEMORANDUM
13        vs.                           ) OF POINTS AND AUTHORITIES IN
                                        ) SUPPORT OF MOTION TO
14   CINAMAKER, INC., a corporation,    ) DISMISS, OR IN THE
     BENJAMIN NOWAK, an individual, and ) ALTERNATIVE, TRANSFER ALL
15   DOES 1 through 10, inclusive       ) CLAIMS
                                        )
16   Defendants.                        ) Date: February 9, 2024
                                        ) Time: 1:30 pm
17                                      ) Ctrm: 6B
                                        )
18                                      ) Complaint Filed: DECEMBER 11,
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19
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 1 III.      MOTION TO DISMISS OR TRANSFER VENUE TO NORTHERN
 2
             DISTRICT OF GEORGIA .............................................................................. 2

 3           A.       The Central District of California Lacks Personal Jurisdiction over
                      Defendant Nowak.................................................................................. 4
 4

 5
             B.       Venue is Improper Because Defendants Were First to File.................. 7

 6           C.       The Interests of Justice Strongly Support Transfer to the Northern
                      District of Georgia................................................................................. 9
 7

 8 IV. CONCLUSION ................................................................................................. 10

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22        326 U.S. 310 (1945).......................................................................................... 4, 5

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24

25 Piedmont Label Co. v. Sun Garden Packing Co.,
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26
   ProSource Discs., Inc. v. Dye
27
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 1 Wolf Designs, Inc. v. DHR Co.,

 2
          322 F. Supp. 2d 1065 (C.D. Cal. 2004) ................................................................ 7

 3 Statutes

 4 28 U.S.C. § 1391(b), (c)(2) ........................................................................................ 3

 5 28 U.S.C. § 1404 ........................................................................................................ 9

 6
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 8

 9 Labor Code § 226 (6) ................................................................................................. 1

10 Other Authorities

11 Federal Rules of Civil Procedure Rule 12(b)(3) ........................................................ 2

12
     International Shoe, supra at 316 ............................................................................... 5
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 1
                    MEMORANDUM OF POINTS AND AUTHORITIES
 2
     I.      INTRODUCTION
 3
             Plaintiff Gary Baker filed the above-captioned action against Cinamaker, Inc.
 4

 5 (“Cinamaker”) and Benjamin Nowak (“Nowak”) (collectively, “Defendants”) in

 6
     Santa Barbara Superior Court alleging breach of contract of an employment
 7
     agreement, as well as unpaid wages. This action was then removed to the Central
 8

 9 District of California based upon diversity jurisdiction. Plaintiff resides in Santa

10
     Barbara County, California, however, Defendant Cinamaker is a Georgia Corporation
11
     with its principal place of business located in Atlanta, Georgia and Defendant
12

13 Benjamin Nowak is domiciled in Atlanta, Georgia. Defendants move to dismiss this

14
     action for lack of personal jurisdiction, or in the alternative, moves the Court to
15
     transfer the action to the Northern District of Georgia as permitted by 28 U.S.C. §§
16

17 1404 and 1406.

18
19 II.       BACKGROUND
20 A.        Summary of Allegations
21
             On December 11, 2023, Plaintiff Gary Baker (“Baker” or “Plaintiff”) filed his
22

23
     complaint in the Superior Court of the State of California for the County of Santa

24 Barbara. (R. Doc. 1-C) This Complaint alleges causes of action for damages and

25
     injunctive relief for (1) breach of contract, (2) breach of implied covenant of good
26

27
     faith and fair dealing, (3) misclassification as independent contractor, (4) unpaid

28 contract wages, (5) violation of Labor Code § 226, (6) waiting time penalties, (7)
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 1 expense reimbursement, (8) unfair business practices, and (9) defamation. (R. Doc 1-

 2
     C)
 3

 4
             Plaintiff requests for special, general, and compensatory damages, including

 5 lost wages and benefits, emotional distress damages, punitive and exemplary

 6
     damages, attorneys’ fees, and other “relief as the Court deems just and proper.” (R.
 7

 8 Doc. 1-C, pp. 14 &15)

 9 B.        Procedural and Factual Background Relevant to Motion
10
             Plaintiffs originally filed suit in Santa Barbara Superior Court on December 11,
11

12 2023. (R. Doc. 1-C). Defendants filed its Notice of Removal on December 19, 2023

13 and removed the above-captioned action to the Central District of California. (R.

14
     Doc. 1). Plaintiff is a resident of Santa Barbara County, California. (R Doc. 1-C, ¶ 1).
15

16 Defendant Cinamaker’s principal place of business is located in Atlanta, Georgia, and

17 Defendant Benjamin Nowak is domiciled in Georgia. (R. Doc. 1-C ¶¶ 2 and 3)

18
     Removal was based upon diversity jurisdiction. (R. Doc. 1 ¶ 5).
19
20
     III.    MOTION TO DISMISS OR TRANSFER VENUE TO NORTHERN
21           DISTRICT OF GEORGIA
22           Defendants request that this Court transfer venue to the Northern District of
23
     Georgia. Rule 12(b)(3) of the Federal Rules of Civil Procedure allows a party to
24

25 challenge a pleading for improper venue. “Pleadings need not be accepted as true,

26 and facts outside the pleadings may be considered” when ruling on a 12(b)(3) motion.

27
     Doe 1 v. AOL LLC, 552 F.3d 1077, 1081 (9th Cir. 2009). Once venue is challenged,
28
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 1 plaintiff has the burden to prove proper venue. Piedmont Label Co. v. Sun Garden

 2
     Packing Co., 587 F.2d 491, 496 (9th Cir. 1979); see also Doe v. Epic Games, Inc., 435
 3

 4
     F. Supp. 3d 1024, 1039 (2020). A civil action may be brought in (1) a judicial district

 5 in which any defendants resides, if all Defendants are residents of the State in which

 6
     the district is located, or (2) a judicial district in which a substantial part of the events
 7

 8 or omissions giving rise to the claim occurred. 28 U.S.C. § 1391(b).

 9           Here, this case has little connection to the Central District of California. The
10
     relevant events occurred in Atlanta, Georgia, which is included in the Northern
11

12 District of Georgia. Defendant Cinamaker is a Georgia Corporation with its principal

13 place of business located in Atlanta, Georgia. Defendant Benjamin Nowak is

14
     domiciled in Atlanta, Georgia.
15

16           Plaintiff contracted with Cinamaker, which he knew to be a Georgia company,

17 and traveled to Georgia on multiple occasions to perform work for Cinamaker.

18
     Plaintiff also attended several meetings in Georgia in order to meet contractors and
19
20 investors. Because of Plaintiff’s business-related actions in Georgia for Cinamaker,

21 the Northern District of Georgia has personal jurisdiction over Plaintiff.

22
             28 U.S.C. § 1391(c)(2) provides that for venue purposes, a corporation shall be
23

24 deemed to reside “in any judicial district in which such defendant is subject to the

25 court’s personal jurisdiction with respect to the civil action in question.” Thus, “to

26
     determine if venue is proper in this Court, one must analyze whether, treating the
27

28 [judicial district in which the case was filed] as though it were its own state, the
                                                 3
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  1 [judicial district] could exercise personal jurisdiction over [the defendant].” Kimmel

  2
      v. Phelan Hallinan & Schmieg, PC, 847 F. Supp. 2d 753, 761 (2012). Plaintiff bears
  3

  4
      the burden of demonstrating that if the Central District of California were its own

  5 state, jurisdiction and venue would be proper there. However, none of the relevant

  6
      events occurred in the Central District of California, and virtually all of the material
  7

  8 events occurred in Atlanta, Georgia. Furthermore, this Court does not have personal

  9 jurisdiction over Mr. Nowak.

 10

 11 A.        The Central District of California Lacks Personal Jurisdiction over
 12
              Defendant Nowak
 13
              As for personal jurisdiction, a defendant must have sufficient “minimum
 14

 15 contacts” with the forum state so that exercising jurisdiction would not “offend

 16
      traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington,
 17
      326 U.S. 310, 316 (1945). Personal jurisdiction can be either general or specific. A
 18
 19 court may exercise general jurisdiction “only when a defendant is 'essentially at
 20
      home' in the State.” Ford Motor Co., 141 S. Ct. at 1024 (quoting Goodyear Dunlop
 21
      Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)). Specific jurisdiction
 22

 23 “covers defendants less intimately connected with a State, but only as to a narrower

 24
      class of claims.” Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017,
 25

 26
      1024 (2021).

 27

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  1           Beginning with International Shoe v. Washington, 326 U.S. 310 (1945), the
  2
      Supreme Court has consistently held that a court may not constitutionally exercise
  3

  4
      personal jurisdiction over a nonresident defendant unless it is shown that the

  5 defendant has “certain minimum contacts with the forum state such that maintenance

  6
      of the suit there does not offend the ‘traditional notions of fair play and substantial
  7

  8 justice’.” International Shoe, supra at 316, quoting Milliken v. Meyer, 311 U.S. 457,

  9 463 (1940). Consequently, a Court must undertake a two-prong analysis in

 10
      considering personal jurisdiction over a nonresident defendant, like the Defendants in
 11

 12 this case. First, the Court must determine whether the defendant has purposefully

 13 established minimum contacts with the forum state. Burger King v. Rudzewicz, 471

 14
      U.S. 462, 476 (1985). If the Court concludes that such purposeful minimum contacts
 15

 16 exist, then the court must next decide if the contacts are such that “the assertion of

 17 personal jurisdiction would comport with ‘fair play and substantial justice’.” Id.

 18
              I.     The Court Lacks General Jurisdiction Over Nowak
 19
 20           A court may assert general personal jurisdiction over defendants “when their
 21 affiliations with the State are so 'continuous and systematic' as to render them

 22
      essentially at home in the forum State.” Goodyear Dunlop Tires Operations, S.A. v.
 23

 24 Brown (2011) 564 U.S. 915, 919 (quoting Int'l Shoe Co. v. Wash. (1945) 326 U.S.

 25 310, 316). Mr. Nowak does not have the “continuous and systematic” contacts with

 26
      California that are necessary to confer general jurisdiction upon this Court. Mr.
 27

 28 Nowak cannot be deemed to be “at home” in the state of California since his domicile
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  1 and residency are in Georgia. (R. Doc. 1-C ¶ 3). As such, this Court does not have

  2
      general personal jurisdiction over Nowak.
  3

  4           II.    The Court Lacks Specific Jurisdiction Over Defendant Nowak

  5           The Ninth Circuit has three requirements for establishing specific jurisdiction
  6
      over a non-resident defendant: (1) the defendant must either purposefully direct his
  7

  8 activities toward the forum or purposefully avail himself of the privileges of

  9 conducting activities in the forum; (2) the claim must be one which arises out of or

 10
      relates to the defendant's forum-related activities; and (3) the exercise of jurisdiction
 11

 12 must comport with fair play and substantial justice, i.e. it must be reasonable.

 13 Impossible Foods Inc. v. Impossible X LLC (9th Cir. 2023) 80 F.4th 1079, 1086.

 14
              This Court need not get to the second and third prongs because Plaintiff cannot
 15

 16 carry their burden of prevailing on the first: Nowak did not direct his activities toward

 17 the forum state or purposely avail himself of the privilege of conducting activities in

 18
      California. The fact that Nowak is an employee and shareholder of a corporation that
 19
 20 contracted with a California resident is not sufficient to create specific jurisdiction.

 21 The fiduciary shield doctrine “buffers corporate officers from personal jurisdiction

 22
      when their official duties were their only contact with a forum state.” ProSource
 23

 24 Discs., Inc. v. Dye (C.D. Cal. July 23, 2019, No. 2:19-cv-00489-AB-JC) 2019 U.S.

 25 Dist. LEXIS 215368, at *8. Thus, “[u]nder the fiduciary shield doctrine, a person's

 26
      mere association with a corporation that causes injury in the forum state is not
 27

 28
                                                 6
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  1 sufficient in itself to permit that forum to assert jurisdiction over the person.” Davis v.

  2
      Metro Prods., Inc., 885 F.2d 515, 520 (9th Cir. 1989).
  3

  4
              Employees of a company may only be individually liable when: (1)

  5 the corporation is the agent or alter ego of the individual defendant; or (2) the

  6
      individual controlled or directly participated in the alleged activities. Wolf Designs,
  7

  8 Inc. v. DHR Co., 322 F. Supp. 2d 1065, 1072 (C.D. Cal. 2004). “[M]ere knowledge of

  9 tortious conduct by the corporation is not enough to hold a director or officer liable

 10
      for the torts of the corporation absent other unreasonable participation in the unlawful
 11

 12 conduct by the individual.” Id.

 13           The alleged breach of contract occurred between Cinamaker, Inc. and Gary
 14
      Baker. While Mr. Nowak is an employee and shareholder of Cinamaker, that status in
 15

 16 and of itself does not confer liability upon him for Cinamaker’s alleged actions

 17 regarding the breach of contract. Accordingly, defendants request that this Court

 18
      dismiss this case for improper venue and personal jurisdiction, or alternatively,
 19
 20 transfer the case to the Northern District of Georgia, where the relevant events

 21 occurred.

 22
      B.      Venue is Improper Because Defendants Were First to File
 23

 24           “The first-to-file rule allows a district court to stay proceedings if a similar case
 25 with substantially similar issues and parties was previously filed in another district

 26
      court”. Kohn Law Grp., Inc. v. Auto Parts Mfg. Miss., Inc. (9th Cir. 2015) 787 F.3d
 27

 28 1237, 1239. The first-to-file rule “serve[s] the purpose of promoting efficiency well
                                                   7
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  1 and should not be disregarded lightly.” Alltrade, Inc. v. Uniweld Prods., Inc., 946

  2
      F.2d 622, 625 (9th Cir. 1991). Courts consider economy, consistency, and comity
  3

  4
      when applying the first-to-file rule. Kohn Law Grp., Inc. v. Auto Parts Mfg. Miss.,

  5 Inc. (9th Cir. 2015) 787 F.3d 1237, 1240 (quoting Cadle Co. v. Whataburger of Alice,

  6
      Inc., 174 F.3d 599, 604 (5th Cir. 1999)). The first-to-file rule may be applied “when a
  7

  8 complaint involving the same parties and issues has already been filed in another

  9 district.” Alltrade, 946 F.2d at 625. Thus, courts analyze chronology of the lawsuits,

 10
      similarity of the parties, and similarity of the issues. See id.
 11

 12           On December 4, 2023, Defendant Cinamaker, Inc. filed a complaint for

 13 declaratory action against Gary Baker. (See Exhibit A -- “First Filed Action”). The

 14
      First Filed Action was a Complaint for Theft and Declaratory Judgment against
 15

 16 Defendant Gary Baker, seeking a judgment from the Northern District of Georgia

 17 holding that Mr. Baker must return Cinamaker’s equipment or pay the fair market

 18
      value for its equipment, and declare that Mr. Baker is not entitled to cash
 19
 20 compensation as his deferred compensation.

 21           Mr. Baker resigned from Cinamaker in August of 2023 and demanded several
 22
      hundred thousand dollars for his deferred compensation. (Exhibit A ¶ 19). Cinamaker
 23

 24 responded that Mr. Baker was not entitled to cash compensation under the parties’

 25 agreement and also sought the return of Cinamaker’s equipment that Mr. Baker still

 26
      possessed. (Exhibit A ¶ 20). Cinamaker followed up several times regarding the
 27

 28 return of the equipment. As of the date of the First Filed Action Mr. Baker had not
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  1 returned any equipment. After receipt of the First Filed Action, Mr. Baker returned

  2
      some of Cinamaker’s equipment, however, he still has yet to return several of
  3

  4
      Cinamaker’s pieces of equipment. (Exhibit A ¶ 21). Mr. Baker also had access to

  5 proprietary and confidential company information on the MacBook Pro computer that

  6
      he possessed. (Exhibit A ¶ 22). This proprietary and confidential information includes
  7

  8 business plans, financial plans, historical corporate records, cap tables, and product

  9 roadmaps, which are outlines of plans the company intends to implement over the

 10
      next 18 months. (Exhibit A ¶ 23). Cinamaker is in the process of conducting a
 11

 12 forensic analysis of the returned equipment to determine if any misappropriation has

 13 occurred.

 14
               The first-to-file rule applies because the First Filed Action and this action both
 15

 16 deal with the employment agreement entered into by Mr. Baker and Cinamaker.

 17 Furthermore, the Northern District of Georgia is able to exercise personal jurisdiction

 18
      over Mr. Baker due to Mr. Baker’s tortious conduct in Georgia, as well as performing
 19
 20 business-related actions in Georgia. For these reasons, venue is improper in the

 21 Central District of California.

 22
      C.      The Interests of Justice Strongly Support Transfer to the Northern
 23

 24 District of Georgia

 25           Even if venue is proper in the Central District of California, this case should be
 26
      transferred to the Northern District of Georgia pursuant to 28 U.S.C. § 1404. “For the
 27

 28 convenience of parties and witnesses, in the interest of justice, a district court may
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  1 transfer any civil action to any other district or division where it might have been

  2
      brought.” 28 U.S.C. § 1404(a). A substantial amount of events giving rise to
  3

  4
      Plaintiff’s claims occurred in Atlanta, Georgia, as Defendants are domiciled in and

  5 have principal place of business in Atlanta, Georgia. Furthermore, Plaintiff’s alleged

  6
      claims arise out of actions that occurred in Atlanta, Georgia, such as business
  7

  8 meetings and performing work for Cinamaker. (Exhibit A ¶ 7). Given the events that

  9 occurred in Georgia, as well as the fact that both Defendants are located in Georgia,

 10
      the Northern District of Georgia has a sufficient interest in having jurisdiction over
 11

 12 this action.

 13
      IV. CONCLUSION
 14

 15           Based on the foregoing, Defendants Cinamaker, Inc. and Benjamin Nowak

 16 respectfully requests that the Court grant its motion to dismiss and/or transfer venue

 17
      to the Northern District of Georgia.
 18
 19 DATED: January 11, 2024                        JONES WALKER, LLP

 20                                          By:    /s/ John W. Mills
 21                                                John W. Mills
                                                   jmills@joneswalker.com
 22                                                Attorney for Defendants CINAMAKER
 23                                                INC. and BENJAMIN NOWAK
 24

 25

 26

 27

 28
                                               10
                                   MOTION TO DISMISS/TRANSFER
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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION
   CINAMAKER, INC.,

   Plaintiff,                                   Civil Action No.

   v.

   GARY BAKER,

   Defendant.

         PLAINTIFF’S COMPLAINT FOR THEFT AND DECLARATORY
                             JUDGMENT

          Plaintiff Cinamaker, Inc. respectfully files this Complaint for Theft and

  Declaratory Judgment against Defendant Gary Baker, seeking a judgment from the

  Court holding that Mr. Baker must return Cinamaker’s equipment or pay the fair

  market value for its equipment, and declare that Mr. Baker is not entitled to cash

  compensation as his deferred compensation.

                                PARTIES AND VENUE

          1.     Plaintiff Cinamaker, Inc. (“Cinamaker”) is a corporation incorporated

  in the State of Georgia, with its principal place of business located in Atlanta,

  Georgia and thus is a citizen of, and domiciled in, the State of Georgia.

          2.     Defendant Gary Baker is an individual resident of the State of

  California, who is domiciled in the city and county of Santa Barbara, California.




                                            1                      Exhibit A - First Filed Action
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          3.     The court may exercise personal jurisdiction over Defendant, as

  Defendant has made several contacts with and has transacted business in the State

  of Georgia.

          4.     When analyzing personal jurisdiction, a court must “determine the law

  that governs its state-centered personal jurisdiction analyses. “Even in cases arising

  under federal law, ‘[f]ederal courts ordinarily follow state law in determining the

  bounds of their jurisdiction over persons.’” Jekyll Island-State Park Auth. v.

  Polygroup Macau Ltd., No. 2:21-CV-8, 2023 U.S. Dist. LEXIS 50665, at *13 (S.D.

  Ga. Mar. 24, 2023).

          5.     Under Georgia’s long-arm statute, a court may exercise personal

  jurisdiction if any person “(1) transacts any business within this state; (2) commits a

  tortious act or omission within this state.” O.C.G.A. § 9-10-91.

          6.     “A   defendant     has    minimum       contacts    for    the    purposes

  of specific jurisdiction if [f]irst, the contacts [are] related to the plaintiff's cause of

  action or have given rise to it. Second, the contacts . . . involve some act by which

  the defendant purposefully avails itself of the privilege of conducting activities

  within the forum, thus invoking the benefits and protections of its laws. Third, the

  defendant's contacts with the forum [are] such that the defendant should reasonably

  anticipate being haled into court there.” Jekyll Island-State Park Auth., 2023 U.S.

  Dist. LEXIS 50665 at *13.

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          7.     Mr. Baker contracted with Cinamaker which he knew to be a Georgia

  company, he traveled to Georgia on multiple occasions to perform work for

  Cinamaker. Mr. Baker also attended several meetings in Georgia in order to meet

  with contractors and investors. Additionally, the equipment that Mr. Baker still

  possesses was also taken from Georgia.

          8.     Because of Mr. Baker’s tortious conduct in Georgia by retaining

  Cinamaker’s equipment, as well as performing business-related actions in Georgia

  for Cinamaker, this Court has personal jurisdiction over Mr. Baker.

          9.     The court has subject matter jurisdiction over this claim because there

  is complete diversity of citizenship between the parties, and the amount in

  controversy exceeds $75,000. 28 U.S.C. § 1332.

          10.    The amount in controversy in this matter far exceeds $75,000.

          11.    Venue lies in this district pursuant to 28 U.S.C. § 1391(b)(2), as a

  substantial part of the events giving rise to the claims occurred at Cinamaker’s

  principal place of business, which is located in Atlanta, Georgia.

                              FACTUAL BACKGROUND

          12.    Gary Baker contracted with Cinamaker in September of 2017 as senior

  vice president of corporate development.

          13.    At the commencement of his relationship with Cinamaker, Cinamaker

  sent Mr. Baker an Offer Letter.

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           14.    The Offer Letter states Mr. Baker’s Total Compensation will be as

   follows:

                  While disbursement will be partially remitted as net cash
                  compensation every two weeks, the balance will accrue as
                  either stock warrants, options, or another instrument
                  (TBD.)

           15.    Six months after he began performing services for Cinamaker, Mr.

   Baker sent Benjamin Nowak, Cinamaker CEO, an “Offer Memorandum” which

   provided the option to pay cash as the deferred compensation assuming there was

   mutual agreement of the parties “at a later date.”

           16.    The Offer Memorandum states:

                  While disbursement will be partially remitted as net cash
                  compensation every two weeks, the balance will accrue as
                  either stock warrants, options, cash, or another instrument
                  to be mutually agreed upon at a later time by Cinamaker
                  and Gary Baker. Records of accrued value will be
                  maintained by Cinamaker and reported to Gary Baker on
                  a monthly basis.

           17.    However, there was never any mutual agreement between the parties to

   pay cash for the deferred compensation.

           18.    In fact, Cinamaker tracked Mr. Baker’s deferred compensation in stock

   and Mr. Baker was aware of this fact throughout his entire relationship with

   Cinamaker.

           19.    Mr. Baker resigned from Cinamaker in August of 2023 and demanded

   several hundred thousand dollars for his deferred compensation.
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           20.    On November 10th, 2023, Cinamaker reached out to Mr. Baker

   regarding Cinamaker’s equipment that Mr. Baker still possessed.

           21.    As of the date of this suit, Mr. Baker currently has: (1) 1 MacBook Pro

   16" (2022 model); (2) 2 iPhone 12’s; (3) 4 iPhone SE's; (4) 4 Canon Camcorders;

   (5) 6 HDMI encoders; (6) 1 Network router; (7) 1 Network Poe switch; (8)

   approximately 25 Lightning to Ethernet adapters; and (9) 4 professional LED

   lighting fixtures.

           22.    Mr. Baker also possesses proprietary and confidential company

   information on the MacBook Pro computer that he still possesses.

           23.    This proprietary and confidential information includes business plans,

   financial plans, historical corporate records, cap tables, and product roadmaps,

   which are outlines of plans the company intends to implement over the next 18

   months.

           24.    On November 16th, Mr. Baker requested pre-paid shipping labels in

   order to return the equipment.

           25.    On November 20th, Cinamaker provided pre-paid shipping labels and

   asked that the equipment be shipped that day.

           26.    On November 28th and November 30th, Cinamaker followed up with

   Mr. Baker regarding the status of returning Cinamaker’s property.



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           27.    To date, Mr. Baker has failed to return the equipment or even respond

   to Cinamaker’s request regarding the status of returning the equipment.

                                      Count 1: Theft

           28.    Cinamaker repeats and realleges each of the proceeding allegations as

   if set forth fully here.

           29.    Under Ga. Code Ann. § 16-8-2, “[a] person commits the offense of theft

   by taking when he unlawfully takes or, being in lawful possession thereof,

   unlawfully appropriates any property of another with the intention of depriving

   him of the property, regardless of the manner in which the property is taken or

   appropriated.” (emphasis added)

           30.    Following his departure, Mr. Baker was asked to return Cinamaker’s

   equipment and was even provided with pre-paid shipping labels to do so.

           31.    However, despite Cinamaker’s multiple request to return its equipment,

   Mr. Baker has yet to return Cinamaker’s equipment.

           32.    Because Mr. Baker has failed to return Cinamaker’s equipment, which

   contains confidential information, Cinamaker is entitled to the recovery of its

   equipment, and punitive damages for this intentional tort.

                                   Count 2: Conversion

           33.    Cinamaker repeats and re-alleges each of the proceeding allegations as

   if set forth fully here.

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           34.    Cinamaker has demanded return of its property set forth in Paragraphs

   21 and 22 above and Mr. Baker has failed or refused to return Cinamker’s property.

           35.    Mr. Baker’s failure or refusal to return Cinamaker’s property

   constitutes conversion of Cinamaker’s property.

           36.    Cinamaker is entitled to replevin of its property or, in the alternative, a

   judgment in the amount of the value of that property, and punitive damages for this

   intentional tort.

                              Count 3: Declaratory Judgment

           37.    Cinamaker repeats and re-alleges each of the proceeding allegations as

   if set forth fully here.

           38.    The purpose of a declaratory judgment is to “settle and afford relief

   from uncertainty and insecurity with respect to rights, status, and other legal

   relations; and this chapter is to be liberally construed and administered.” O.C.G.A.

   § 9-4-1.

           39.    Furthermore, “[t]he object of the declaratory judgment is to permit

   determination of a controversy before obligations are repudiated or rights are

   violated.” Walker v. Owens, 298 Ga. 516, 518, 783 S.E.2d 114, 116 (2016).

           40.    The Agreement executed between Mr. Baker and Cinamaker states that

   the parties will mutually agree at a later time as to what Mr. Baker’s deferred

   compensation will be.

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           41.    Mr. Baker alleges that he is entitled to cash compensation, however,

   Cinamaker has not agreed to cash compensation for Mr. Baker’s deferred

   compensation.

           42.    Cinamaker has at all times been ready and willing to issue Mr. Baker

   his deferred compensation in stock – as consistently shown in the Company

   Capitalization Table.

           43.    Mr. Baker has refused to accept the stock and maintains he is entitled

   to cash payment, thus there exists a real case and controversy that may be resolved

   by a judgment from this Court.

           44.    In light of the Agreement and Mr. Baker and Cinamaker’s inability to

   come to an agreement on the deferred compensation, Mr. Baker is not entitled to

   cash compensation under the Agreement because both Cinamaker and Mr. Baker

   have not agreed to providing cash compensation for his deferred compensation.

           Count 4: Expenses of This Litigation Pursuant to O.C.G.A. § 13-6-11

           45.    Cinamaker repeats and re-alleges each of the proceeding allegations as

   if set forth fully here.

           46.    Mr. Baker has acted in bad faith, has been stubbornly litigious, and/or

   caused Cinamaker unnecessary trouble and expense.

           47.    Cinamaker is thus entitled to its expenses of litigation, including its

   attorneys’ fees.

                                              8

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                                      CONCLUSION

           Plaintiff Cinamaker, Inc. respectfully requests this Court enter judgment in its

   favor and against Defendant Gary Baker, declaring the return of Cinamaker’s

   equipment, as well as declaring that Mr. Baker is not entitled to cash compensation

   for his deferred compensation, and granting any and all legal and equitable relief to

   which Cinamaker is entitled whether specifically prayed for herein or not.

           Respectfully submitted, December 4, 2023.

                                                   /s/ David J. Forestner

                                                   DAVID J. FORESTNER
                                                   Georgia Bar No. 269177
                                                   Jones Walker LLP
                                                   3455 Peachtree Road, NE, Suite 1400
                                                   Atlanta, Georgia 30326
                                                   (404) 870-7527




                  CERTIFICATE OF COMPLIANCE WITH L.R. 7.1D
           I hereby certify that the foregoing pleading was prepared with the Times New

   Roman font in 14-point type that conforms with Northern District of Georgia Local

   Rule 5.1C.

                                                   /s/ David J. Forestner

                                                   DAVID J. FORESTNER
                                                   Georgia Bar No. 269177



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JS44 (Rev. 10/2020 NDGA)                                                 CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by Iaw, except as provided by
Iocal rules of court. This form is required for the use of the Cierk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)



I. (a) PLAINTIFFS)                                                                                    DEFENDANTS)
            Cinamaker, Inc.                                                                           Gary Baker




     ~b~ COUNTY OF RESIDENCE OF FIRST LISTED                                                        ',COUNTY OF RESIDENCE OF FIRST LISTED
         PLAINTIFF         Fulton                                                                   ~ DEFENDANT      Santa Barabra
                            (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                      NOTE: IN LAND CONDEMNATION CASES, USE THE WCATION OF THE TRACT OF LAND
                                                                                                      INVOLVED

  (C) ATTOl~I\EYS                  (FIRM NAME, ADDRESS, TELEPHONE NUMBER,AND                          ATTOiII\EYS               (IF KNOWN)
                                    E-MAIL ADDRESS)

            David Forestner; Jones Walker                                                             James H. Cordes; James H. Cordes and Associates
            3455 Peachtree Road NE, Suite 1400                                                        831 State Street, Suite 205
            Atlanta, GA 30326                                                                         Santa Barbara, CA 93101
            404-870-7527                                                                              805-965-6800
            dforestner@joneswaiker.com                                                                jim@jamescordes.com


II. BASIS OF JURISDICTION                                                        III. CITIZENSHIP OF PRINCIPAL PARTIES
          (PLACE AN "R" IN ONE BOX ONLY)                                               (PLACE AN "X" IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                          (FUR DIVERSITY CASES ONLY)

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     1 U.S. GOVERNMENT        ~3   FEDERAL QUESTION                          ~    1    ~     1 CITIZEN OF THIS STATE        ~     4    ~      4   INCORPORATED OR PRINCIPAL
       PLAINTIFF                   (U.S. GOVERNMENT NOT A PARTY)                                                                                  PLACE OF BUSINESS IN TIitS STATE

~2    U.S. GOVERNMENT         ~4    DIVERSITY                                ~2        ~2         CITIZEN OF ANOTHER STATE 5           ~5         INCORPORATED AND PRINCIPAL.
      DEFENDANT                    (INDICATE CITIZENSHIP OF PARTIES                                                                               PLACE OF BUSINESS IN ANOTHER STATE
                                    IN ITEM 111)
                                                                             ~    3    ~3         CITIZEN OR SUBJECT OF A   ~     6    ~     6    FOREIGN NATION
                                                                                                  FOREIGN COUNTRY


IV.Ol\1GIN               (PLACE AN"X "IN ONE BO,I'ONLY)
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           PROCEEDING        STATE COURT              APPELLATE COURT             REOPENED                    (Specify Dishict)             TRANSFER            JUDGMENT


            MULTIDISTRICT
          8 LITIGATION -
            DIRECTFILE


V.    CAUSE          OF     ACTION          (CITE THE U.S. CIVIC STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE- DO NUT CITE
                                           JURISDICTIONAL STATUTES UNLESS DIVERSIT]')
      28 U.S.C. 1332
      Employment Agreement dispute; Theft



(IF COMPLEX, CHECK REASON BELOW)

           1. Unusually large number of parties.                                  ❑ 6. Problems locating or preserving evidence
           2. Unusually large number of claims or defenses.                       ❑ 7. Pending parallel investigations or actions by government.
           3. Factual issues are exceptionally complex                            ❑ 8. Multiple use of experts.
           4. Greater than normal volume of evidence.                             ❑ 9. Need for discovery outside United States boundaries.
           5. Extended discovery period is needed.                                ~    0. Existence of highly technical issues and proof.


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FOR OFFICE USE ONLY

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CONTRACT - "0" MONTHS DISCOVERY TRACK                    CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK              SOCIAL SECURITY - "0" MONTHS DISCOVERY
      I50 RECOVERY OF OVERPAYMENT &                              440 OTHER CIVIL KIGHTS                         TRACK
           ENFORCEMENT OF JUDGMENT                               441 VOTING                                            861 HIA (1395fl)
   D 152 RECOVERY OF DEFAULTED STUDENT                           442 EMPLOYMENT                                        862 BLACK LUNG (923)
          LOANS (Excl. Veterans)                                 443 HOUSING/ ACCOMMODATIONS                           863 D1WC (405(8))
   ❑ 153 RECOVERY OF OVERPAYMEN? OF                              445 AMERICANS with DISABILITIES - Employment          863 D1W W (405(8))
                                                                 446 AMERICANS with DISABILITIES - Other               864 SS1D TITLE XVI
          VETERAN'S BENEFITS

CONTRACT - "4" MONTHS DISCOVERY TRACK
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      1lO INSURANCE                                                                                             FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
      120 MARINE                                         IMMIGRATION - "0" MONTHS DISCOVERY "TRACK              TRACK
      130 MILLER ACT                                           462 NATURALIZATION APPLICATION                         870 TAXES (U.S. Plaintiff or Defendant)
   O 140 NEGOTIABLE INSTRUMENT                                 465 OTHER IMMIGRATION ACTIONS                          871 IRS - TFRRD PARTY 26 USC 7609
      I57 MEDICARE ACT
      160 STOCKHOLDERS'SUITS                             PRISONER PETITIONS - "0" MONTHS DISCOVERY              OTHER STATUTES - "4" MONTHS DISCOVERY
      190 OTHER CONTRACT                                 TRACK                                                  TRACK
      195 CONTRACT' PRODUCT LIABILITY                          463 HABEAS CORPUS- Alien Detainee                ~—    375 FALSE CLAIMS ACT
      196 FRANCHISE                                             510 MOTIONS TO VACATE SENTENCE                    ❑   376 Qui Tam 31 USC 3729(a)
                                                                5301-IABEAS CORPUS                                Q    400 STATE REAPPORTIONMENT
REAL PROPERTY - "4" MONTHS DISCOVERY                            535 HABEAS CORPUS DEATH PENALTY                        430 BANKS AND BANKING
TRACK                                                           540 MANDAMUS & OTHER                                   450 COMMERCEflCC RATES/ETC.
       210 LAND CONDEMNATION                                    550 CNIL, RIGHTS - Filed Pro se                        460 DEPORTATION
       220 FORECLOSURE                                          555 PRISON CONDTTION(S) - Filed Pro se                 470 RACKETEER INFLUENCED AND CORRUPT
       230 RENT LEASE & EJECTMENT                               560 CIVIL DETAINEE: CONDITTONS OF                           ORGANIZATIONS
       240 TORTS TO LAND                                            CONFINEMENT                                        480 CONSUMER CREDIT
       245 TORT PRODUCT LIABILITY                                                                                      48S THLHPHONB CONSUMER PROTECTION ACT
       290 ALL OTHER REAL PROPERTY                       PRISONER PETITIONS - "4" MONTHS DISCOVERY                     490 CABLE/SATELLITE TV
                                                         TRACK                                                    O    890 OTHER STATUTORY ACTIONS
                                                                550 CIVIL RIGHTS - Piled by Counsel                    891 AGRICULTURAL ACTS


           315 AIRPLANE PRODUCT LIABILITY
                                                                555 PRISON CONDITIONS) - Filed by Counsel

                                                         FORFEITURE/PENALTY - "4" MONTHS DISCOVERY                Q
                                                                                                                   B   893 ENVIRONMENTAL MATTERS
                                                                                                                       895 FREEDOM OF INFORMATION ACT 899
                                                                                                                       899 ADMINISTRATIVE PROCEDURES ACT /
           320 ASSAULT, LIBEL & SLANDER                  TRACK                                                             REVIEW OR APPEAL OF AGENCY DHCISION
           330 FEDERAL EMPLOYERS' LIABILITY                     625 DRUG RELATED SEIZURE OF PROPERTY                  950 CONS7'ITUTIONALI7Y OF STATE STATUTES
           340 MARINE                                                21 USC 881
           345 MARINE PRODUCT LIABILITY                         690 OTHER
                                                                                                                OTHER STATUTES - "8" MONTHS DISCOVERY
           350 MOTOR VEHICLE
                                                                                                                TRACK
           355 MOTOR VEHICLE PRODUC? LIABILITY           LABOR - "4" MONTHS DISCOVERY TRACK
           360 OTHER PERSONAL INJURY
           362 PERSONAL INNRY - MEDICAL
               MALPRACTICE
                                                            Q 710 FAIR LABOR STANDARDS ACT
                                                                720 LABOR/MGMT. RELATIONS
                                                                740 RAILWAY LABOR ACT
                                                                                                                   e   410 ANTITRUS'I~
                                                                                                                       850 SECURITIES / COMMODITIES / EXCHANGE

       Q   365 PERSONAL INJl1RY - PRODUCT LIABILITY             751 FAMILY and MEDICAL LEAVE ACT                OTHER STATUTES - "0" MONTHS DISCOVERY
       Q   367 PERSONAL INJURY - HEALTH CARE/                   790 OTHER LABOR LI'II(iATION                    TRACK
                PHARMACEUTICAL PRODUCT LIABILITY                791 EMPL. RET. INC. SECURITY ACT                   ❑   896 ARBITRATION
       Q   368 ASBESTOS PERSONAL INJURY PRODUCT                                                                            (Confirm / Vacate / Order / Modify)
                LIABILITY                                PROPERTY RIGHTS - "4" MONTHS DISCOVERY
                                                         TRACK
TORTS - PERSONAL PROPERTY - "4" MONTHS                         820 COPYRIGHTS
DISCOVERY TRACK                                             Q 840 TRADEMARK                                     * PLEASE NOTE DISCOVERY
       370 OTHER FRAUD                                      Q 880 DLFGND TRADE SLCRHTS ACT OF 2016 (DTSA)
    O 371 TRUTH IN LENDING                                                                                        TRACK FOR EACH CASE
       380OTHER PERSONAL PROPERTY DAMAGE
                                                         PROPERTY RIGHTS - "8" MONTHS DISCOVERY                   TYPE. SEE LOCAL RULE 26.3
       385 PROPERTY DAMAGE PRODUCT LIABILITY
                                                         TRACK
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK                     0  830 PATENT
                                                            Q 835 PATENT-ABDREVIATHD NGW DRUG
   O 422 APPEAL 28 USC 158
                                                                   APPLICATIONS (ANDA) - a/Wa
   p 423 WITHDRAWAL 28 USC 157                                     Iialcli-Waxman cases




VII. REQUESTED IN COMPLAINT:
   ❑       CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23                DEMAND $

JURY DEMAND ❑            7'ES ❑     NO (CHECK YES ONLY 1F DEMANDED IN COMPLAINT)



VIII. RELATED/REFILED CASES) IF ANY
           JUDGE                                                                DOCKET NO.

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: ~cxecxnrraorxtnTE sox
   D 1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       Q   2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
           3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       O   4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
              BANKRUPTCY JUDGE,
           5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
       Q   6. COMPANION OR RELATED CASE TO CASES) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):




       Q   7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                             , WHICH WAS
              DISMISSED. This case ~ IS ❑ IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




                                                                                                                       20 2
 SIGNATURE OF ATTORNEY                                                                                 DATE
 Case 2:23-cv-10611-FLA-AGR
          Case 1:23-cv-05542-TWT
                              Document
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                                                                            29 ID #:108



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 7   ATTORNEY FOR DEFENDANTS

 8
 9                          UNITED STATES DISTRICT COURT

10                         CENTRAL DISTRICT OF CALIFORNIA

11
     GARY BAKER, AN INDIVIDUAL                   Case No. 2:23-cv-10611-FLA-AGR
12
13                                               [PROPOSED] ORDER GRANTING
     PLAINTIFFS,                                 DEFENDANTS’ MOTION TO
14                                               DISMISS, OR IN THE
15                                               ALTERNATIVE, TRANSFER [DKT
     VS.
                                                 #12]
16
                                                Date: February 9, 2024
17   CINAMAKER, INC., A
     CORPORATION,                               Time: 1:30 pm
18   BENJAMIN NOWAK, AN                         Ctrm: 6B
19   INDIVIDUAL, AND
     DOES 1 THROUGH 10, INCLUSIVE
20                                               Complaint Filed: DECEMBER 11,
21                                               2023
                               Defendants.
22
23           On January 11, 2024, Defendants Cinamaker, Inc. and Benjamin Nowak filed
24   its Motion to Dismiss, or in the alternative, Transfer Venue. The basis for the motion
25   to dismiss is that Plaintiff Gary Baker cannot demonstrate that venue is proper under
26   28 U.S.C. § 1391(b) and this Court lacks personal jurisdiction over defendants.
27
28
                                                1
     #101932064V1
 Case 2:23-cv-10611-FLA-AGR
          Case 1:23-cv-05542-TWT
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                                                                            29 ID #:109



 1           The court, having considered Defendants’ Motion to Dismiss, or in the
 2   alternative, Transfer, opposing papers, arguments, and all other matters presented to
 3   the Court, and finding good cause therefor, hereby GRANTS Defendants’ Motion to
 4   Dismiss and ORDERS as follows:
 5             1.   Plaintiff failed to prove that this Court has personal jurisdiction over
 6                  Defendant Benjamin Nowak; and
 7             2.   This Court is an improper venue for the above captioned action.
 8
 9           IT IS SO ORDERED.
10
11   Dated: January 11, 2024
12
                                                       ______________________________
13                                                     FERNANDO L. AENLLE-ROCHA
14                                                     United States District Judge
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     #101932064V1
